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                                                                             U.S. O!STRrCT COURT
                     IN THE UNITED STATES DISTRICT COURT                         AUGUSj A Q


                    FOR THE SOUTHERN DISTRICT OF GEORGIA 2017 FEB 16 PM 2:12

                                  AUGUSTA DIVISION                       CLERK
                                                                             s           OF
JOHN DUNCAN FORDHAM,

               Petitioner,

       V.                                        CV 111-088
                                                 (Formerly CR 104-051)
UNITED STATES OF AMERICA,

               Respondent.


                                        ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed (doc. no. 12).1

Accordingly, the Report and Recommendation of the Magistrate Judge is ADOPTED as the

opinion of the Court. Therefore, Petitioner's motion brought pursuant to 28 U.S.C. § 2255

is DENIED.

       Having determined that Petitioner is not entitled to relief on his § 2255 motion, the

Court turns to the issue of whether to issue a certificate of appealability ("COA"). A § 2255

petitioner must obtain a COA before appealing the denial of his motion to vacate. This




        'Of note, many of the arguments raised in Petitioner's objections are materially
similar to the arguments rejected by this Court in its denial of the motion brought under 28
U.S.C. § 2255 by Robin L. Williams, Petitioner's Co-Defendant in the underlying criminal
action. See Williams v. United States, CV 110-153, doe. nos, 13, 16,20 (S.D. Ga. Jan. 12,
2012). Petitioner's remaining arguments are also without merit and fail to provide any basis
for departing from the conclusions set forth in the Report and Recommendation. Therefore,
Petitioner's objections are OVERRULED.
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Court "must issue or deny a certificate of appealability when it enters a final order adverse

to the applicant." Rule 11(a) to the Rules Governing Section 2255 Proceedings. This Court

should grant a COA only if the petitioner makes a "substantial showing of the denial of a

constitutional right." 28 U.S.C. § 2253(c)(2); see also Slack v. McDaniel, 529 U.S. 473,

482-84 (2000).

        Here, Petitioner raises a claim based on the Supreme Court's decision in Skilling v.

United States, 561 U.S. , 130 S. Ct. 2896 (2010). Resolution of the instant § 2255

motion turns on whether Petitioner procedurally defaulted that claim by failing to raise it at

trial or on direct appeal. Notably, the Eleventh Circuit has not yet addressed this issue in the

context of a Skilling-based claim, and courts applying Skilling on collateral review have

reached disparate conclusions, particularly with regard to the analysis of the cause prong of

the procedural default analysis. Compare Ryan v. United States, 645 F.3d 913,916 (7th Cir.

2011) (Easterbrook, J.) petition for cert. filed, No. 11-499 (Oct. 19, 2011); United States v.

Lynch, _F. Supp.2d , Nos. 07-431-01, 07-431-02,2011 WL 3862842, at *3 (E.D. Pa.

Aug. 31,2011); United States v. Jennings, Nos. CR-04-402, CV-11-150 (RHK), 2011 WL

3609298, at *3 (D. Minn. Aug. 15, 2011) appeal docketed, No. 11-3 127 (8th Cir. Sept. 30,

2011); United States v. Scruggs, No. 3 :O7CR1 92-B-A, 2011 WL 1832769, at *3 (N.D. Miss.

May 13, 2011), reconsideration denied, 2011 WL 2566140, at *1 N.D. Miss. June 28,

2011), appeal docketed, No. 11-60564 (5th Cir. Aug. 23, 2011); Walker v. Rivera, F.

Supp.2d,No. 3:10-2464-RMG, 2011 WL4480170, at *2(D.s.c. Sept. 26,201 1), appeal

docketed, No. 11-7425 (4th Cir. Oct. 27, 2011); with Stavton v. United States, 766 F. Supp.

2d 1260, 1266-67 (M.D. Ala. 2011); United States v. McDonnell, Nos. SACV 10-1123,


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SACR 04-0309, 2011 WL 2463194, at *3..5 (C.D. Cal. June 20, 2011).

        Accordingly, the Court GRANTS Petitioner a COA, which shall be limited to the

issue of whether Petitioner procedurally defaulted his Skillig-based claim by failing to raise

such claim at trial or on direct appeal.

        Upon the foregoing, a final judgment shall be ENTERED in favor of Respondent,

and this civil action shall be CL?S5D.

        SO ORDERED this                of February, 2012, at Augusta, Georgia.




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